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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

ROBIN CRUMB,                        }                CASE NO. 1:12CV1889
                                    }
      Plaintiff,                    }                JUDGE: Patricia A. Gaughan
                                    }
      v.                            }                PLAINTIFF’S DISMISSAL WITH
                                    }                PREJUDICE
PORTFOLIO RECOVERY                  }
ASSOCIATES, LLC                     }
                                    }
      Defendant.                    }
____________________________________/

       NOW COMES Plaintiff Robin Crumb, by and through undersigned counsel, and hereby

respectfully requests that this Court dismiss the above captioned case with prejudice.


                                             Respectfully submitted,

                                         KAHN & ASSOCIATES, LLC

                                          /s/ David W. Skall

                                          DAVID W. SKALL (0068740)
                                          dskall@kahnandassociates.com
                                          6200 Rockside Woods Blvd., Suite 215
                                          Cleveland, Ohio 44131
                                          216.621.6101 Telephone
                                          216.621.6006 Facsimile
                                          Attorney for Plaintiff
